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                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________
                                           :
GABRIELLE DEARDORFF, BRYAN                 :
OTERI, CAROLINE & CO. MEDIA LLC,           :
d/b/a SAVVY MAIL LINE,                     :
MONICA D’ANTONIO, ELAINE                   :
HANNOCK, KAREN HAYMAN,                     :
ZAK HUTCHINSON, and ELIZABETH C.           :
BROOKS,                                    :
                           Plaintiffs      :    Civil Action No. 20-03172
                                           :
                     v.                    :
                                           :
JOSEPH C. GALE, Individually and in        :
His Official Capacity as Commissioner of   :
Montgomery County, PA; and FRIENDS         :
OF JOE GALE                                :
                                           :
                           Defendants      :
__________________________________________:

                                        ORDER
       AND NOW, this _______ day of ___________________, 2020, upon consideration of

the Motion of Defendant Joseph C. Gale, in his Official Capacity only, for Partial Dismissal of

Plaintiffs’ Complaint, and any response by Plaintiffs thereto, it is hereby ORDERED and

DECREED that said motion is GRANTED as follows:

       1.      Plaintiffs’ Complaint is DISMISSED WITH PREJUDICE as to all claims

brought against Defendant Joseph C. Gale, in his Official Capacity; and further

       2.      The Plaintiffs’ prayer for punitive damages as to Defendant Joseph C. Gale in his

Official Capacity is STRICKEN WITH PREJUDICE.

                                                    BY THE COURT:


                                                    _______________________________
                                                                            U.S.D.J.
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                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
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BROOKS,                                    :
                           Plaintiffs      :    Civil Action No. 20-03172
                                           :
                     v.                    :
                                           :
JOSEPH C. GALE, Individually and in        :
His Official Capacity as Commissioner of   :
Montgomery County, PA; and FRIENDS         :
OF JOE GALE                                :
                           Defendants      :
__________________________________________:


              MOTION OF DEFENDANT JOSEPH C. GALE,
                 IN HIS OFFICIAL CAPACITY ONLY,
         FOR PARTIAL DISMISSAL OF PLAINTIFFS’ COMPLAINT

       Defendant Joseph C. Gale (hereinafter “Commissioner Gale”), in his official capacity

only, through the undersigned counsel, hereby moves this Honorable Court for the partial

dismissal of Plaintiffs’ complaint pursuant to Federal Rule of Civil Procedure 12(b)(6).

Specifically, Commissioner Gale respectfully asks that all claims brought against him in his

official capacity be dismissed with prejudice; and further, that Plaintiffs’ prayer for punitive

damages against him, in his official capacity, be stricken with prejudice. The factual basis,
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controlling authorities and arguments supporting this motion are set forth more completely in the

accompanying memorandum of law, which are incorporate herein by reference.



                                            Respectfully submitted,

                                            MONTGOMERY COUNTY SOLICITOR’S OFFICE


                                            /s/ Milton Vélez
                                            Milton Vélez, Esquire
                                            One Montgomery Plaza, Suite 800
                                            P.O. Box 311
                                            Norristown, PA 19404-0311
                                            610-278-3033

                                            Counsel for Defendant,
                                            Joseph C. Gale,
                                            in his Official Capacity only


Dated: July 23, 2020




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                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
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                                           :
GABRIELLE DEARDORFF, BRYAN                 :
OTERI, CAROLINE & CO. MEDIA LLC,           :
d/b/a SAVVY MAIL LINE,                     :
MONICA D’ANTONIO, ELAINE                   :
HANNOCK, KAREN HAYMAN,                     :
ZAK HUTCHINSON, and ELIZABETH C.           :
BROOKS,                                    :
                           Plaintiffs      :    Civil Action No. 20-03172
                                           :
                     v.                    :
                                           :
JOSEPH C. GALE, Individually and in        :
His Official Capacity as Commissioner of   :
Montgomery County, PA; and FRIENDS         :
OF JOE GALE                                :
                           Defendants      :
__________________________________________:


             MEMORANDUM OF LAW IN SUPPORT OF
                  THE MOTION OF DEFENDANT
        JOSEPH C. GALE, IN HIS OFFICIAL CAPACITY ONLY,
     FOR THE PARTIAL DISMISSAL OF PLAINTIFFS’ COMPLAINT

I      INTRODUCTION AND FACTUAL BACKGROUND

       In this action seven individuals and one business bring suit against Montgomery County

Commissioner Joseph C. Gale and an organization identified as Friends of Joe Gale. See ¶¶ 11 –

38 of Plaintiffs’ Complaint attached as Exhibit A. In Count I the Plaintiffs collectively seek

injunctive relief for the alleged violation of their First Amendment rights pursuant to § 1983. ¶¶

201 – 209. In Count II Plaintiffs claim violation of their “free exercise of speech and/or to

freedom of expression” pursuant to the Pennsylvania state Constitution. ¶¶ 210 – 218. Last, at

Count III Plaintiffs seek Declaratory Relief that “An actual, immediate, justiciable, and present

controversy exists between Plaintiffs on the one hand, and on Defendants on the other,
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concerning Plaintiffs’ rights to participate in public debate by posting, responding, accessing,

and commenting upon Gale’s activities and posts on his official social media accounts.” ¶ 220.



II     STANDARD OF REVIEW

       Under the Supreme Court’s bellwether decision in Bell Atlantic Corp. v. Twombly, 550

U.S. 544 (2007), dismissal of a complaint pursuant to Federal Rule of Civil Procedure 12(b)(6) is

appropriate if, accepting as true all of the facts alleged in the complaint, the plaintiff has not

pleaded “enough facts to state a claim to relief that is plausible on its face.” 550 U.S. at 570.

“While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed factual

allegations, a plaintiff’s obligation [under Rule 8(a)(2)] to provide the ‘grounds’ of his

‘entitlement to relief’ requires more than labels and conclusions, and the formulaic recitation of

the elements of a cause of action will not do.” Id. at 555-56 (citations omitted). To survive a

motion to dismiss, a complaint’s “[f]actual allegations must be enough to raise a right to relief

above the speculative level[.]” Id. at 555. A plaintiff must have “nudged [his] claim across the

line from conceivable to plausible, or [his] complaint must be dismissed.” Id. at 570.

       Under Twombly, conclusory or “bare-bones” allegations will no longer survive a motion

to dismiss: “threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “Nor does a

complaint suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual enhancement.’” Id.

(quoting Twombly, 550 U.S. at 557). To prevent dismissal, the complaint must set out “sufficient

factual matter” to show that the claim is facially plausible. Iqbal, 556 U.S. at 678.

       Analyzing Twombly and Iqbal, the Third Circuit has offered the following analysis of the

process to be undertaken in deciding a motion to dismiss:

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                 Therefore, after Iqbal, when presented with a motion to dismiss for failure
        to state a claim, district courts should conduct a two-part analysis. First, the
        factual and legal elements of a claim should be separated. The district court must
        accept all of the complaint's well-pleaded facts as true, but may disregard any
        legal conclusions. Id. Second, a district court must then determine whether the
        facts alleged in the complaint are sufficient to show that the plaintiff has a
        ‘plausible claim for relief.’ Id. at 1950. In other words, a complaint must do
        more than allege the plaintiff's entitlement to relief. A complaint has to ‘show’
        such an entitlement with its facts. See Phillips v. County of Allegheny, 515 F.3d
        224, 234-35. As the Supreme Court instructed in Iqbal, ‘[w]here the well-pleaded
        facts do not permit the court to infer more than the mere possibility of
        misconduct, the complaint has alleged - but it has not ‘show[n]’ - ‘that the pleader
        is entitled to relief.’ ’ Iqbal, 129 S.Ct. at 1949. This ‘plausibility’ determination
        will be ‘a context-specific task that requires the reviewing court to draw on its
        judicial experience and common sense.’ Id.

Fowler v. UPMC Shadyside, 578 F.3d 203, 210-11 (3d Cir. 2009). Applying this standard,

Commissioner Gale’s motion for partial dismissal of Plaintiffs’ complaint should be granted in

its entirety.



III     LEGAL ARGUMENT

        A.      Plaintiffs’ Official Capacity Claims Against Commissioner
                Gale Fail Because Plaintiffs Do Not Allege Sufficient Facts To
                State A Plausible § 1983 Claim Under Monell

        Plaintiffs indicate in the caption of this suit that they are suing Commissioner Gale in

both his individual capacity and his official capacity. See Plaintiffs’ Complaint. Further, they

alleged that in his official capacity he “maintained the Facebook, Twitter, and Instagram

profiles” which are the subject of this litigation. Complaint at ¶ 39.

        In the seminal decision of Kentucky v. Graham, 473 U.S. 159 (1985), the Supreme Court

eliminated any lingering confusion about the distinction between individual and official capacity

claims. In so doing, the Supreme Court stated that official capacity claims “generally represent

only another way of pleading an action against an entity of which an officer is an agent.” Id. at

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165. Claims against government officials in their official capacity, therefore, are treated as

claims against the governmental entity. Id. at 166. In this matter, that entity would be the

County of Montgomery. In accord, Hafer v. Melo, 302 U.S. 21, 25 (1991).

        Under Monell v. New York City Dept. of Social Services, 436 U.S. 658 (1978), a plaintiff

may maintain a § 1983 action against a local government entity only where the entity’s own

“policy or custom” causes a deprivation of the plaintiff’s constitutional rights. 436 U.S. at 694 (a

local government has no vicarious or respondeat superior liability under § 1983; liability can

only arise from the government’s own policy or custom). A local government’s “policy” is a

“statement, ordinance, regulation or decision officially adopted and promulgated by [a local

governing] body’s officers.”     Simmons v. City of Philadelphia, 947 F.2d 1042, 1059 (3d

Cir.1991) (citing Monell, 436 U.S. at 690). A local government’s “custom,” which lacks the

formal approval of a policy, requires a showing of practices that are “so permanent and well

settled to constitute a custom or usage with the force of law.” Id. (citing Monell, 436 U.S. at

691).

        The local government’s policy or custom must be the “moving force” behind the

constitutional deprivation if the local government is to be held liable. Kentucky v. Graham, 473

U.S. 159, 166 (1985); Grazier v. City of Philadelphia, 328 F.3d 120, 125 (3d Cir. 2003). There

must be “a ‘direct causal link between a municipal policy or custom and the alleged

constitutional deprivation’ to ground municipal liability.” Jiménez v. All American Rathskeller,

Inc., 503 F.3d 247, 249-50 (3d Cir. 2007) (quoting City of Canton v. Harris, 489 U.S. 378, 385

(1989)).

        In the present case, Plaintiffs’ complaint alleges no facts to demonstrate it is plausible

that any constitutional rights of the various Plaintiffs were infringed because of a policy or

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custom of Montgomery County. Plaintiffs have failed to allege anywhere in their lengthy

complaint that Montgomery County operated, maintained or controlled any of the social media

accounts which are at the center of this litigation. To the contrary, Plaintiffs aver at ¶ 4 that

“During his time as Commissioner, Gale has maintained a number of social media accounts,

including, but not limited to, a Facebook page, a Twitter account, and an Instagram account.”

Similarly, Plaintiffs do not allege, suggest or even imply that a specific Montgomery County

policy was involved in the purported violation of their constitution rights. Without stating such

facts and/or identifying a policy or custom, Plaintiffs cannot maintain a § 1983 claim against

Commissioner Gale in his official capacity. Thus, all claims against him in his official capacity

should be dismissed.


       B.      Plaintiffs’ Official Capacity Claims Against Commissioner
               Gale Must Fail Because Acting Alone He Cannot Make Policy
               To Support A Plausible § 1983 Claim Under Monell

       To the extent that Plaintiffs’ complaint attempts to argue or suggest that Commissioner

Gale’s alleged acts and actions constitute a county policy or custom, they are mistaken and

contrary to existing court decisions.

         The question of whether a single county commissioner can establish policy for purposes

of a § 1983 suit was addressed in LaVerdure v. County of Montgomery, 2002 WL 32349386. In

a well-reasoned opinion, Judge Bartle unequivocally determined a commissioner could not

establish policy when acting alone. He reasoned that: “Under state law, the corporate power of

a county is vested in a Board of three county commissioners elected by the voters to four-year

terms. . . Two commissioners are necessary to constitute a quorum to transact business. [Citation

omitted] Any official document, instrument or official paper must be executed by at least two

commissioners.” Id. at *2 (Citations omitted). See also, City of St. Louis v. Praprotnik, 485 U.S.
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112, 123 (1988)(Only officials who have final policy making authority “may by their actions

subject the government to § 1983 liability.”) and Holt Cargo Systems, Inc. v. Delaware River

Port Authority, 20 F.Supp.2d 803, 840-41 (E.D.Pa. 1998) (Since policy decisions require 5 votes

from the 8 Pennsylvania representatives, as well as 5 votes from the 8 New Jersey

representatives, allegedly improper motivation of only 2 representatives could not be imputed to

the entire DRPA.).

       Judge Bartle’s decision was subsequently appealed and affirmed by a panel of the Third

Circuit. Writing for the panel, Circuit Judge Abro succinctly stated: “It is undisputed that only a

majority of the three-member Board is authorized to establish policy on behalf of the County.

[Citation omitted] Therefore, whatever the contents of [Commissioner] Marino’s statements,

because he was only one member of the Board, those comments do not constitute County

policy.” LaVerdure v. Cty of Montgomery, 324 F.3d 123, 125 (2003).

       Applying the same Pennsylvania state law and controlling federal decisions to the matter

sub judice, a similar determination should be reached here. Commissioner Gale, acting alone

cannot create policy for Montgomery County. If in their complaint Plaintiffs cannot point to a

specific County policy or custom involved in the alleged violation of their constitutional rights,

which they have failed to do, they cannot maintain a valid § 1983 claim against Commissioner

Gale in his official capacity. Thus all purported claims against him in his official capacity

should be dismissed.

       C.      Plaintiffs’ Prayer for Punitive Damages Against Commissioner
               Gale in his Official Capacity Must Be Stricken


       In their Prayer for Relief at item (e), Plaintiffs request this Honorable Court to: “Award

Plaintiffs nominal, compensatory, and punitive damages in an amount exceeding the

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jurisdictional limits of this Court . . .” Such a request cannot be granted as it is contrary to

existing case law.

       For at least 170 years, local government agencies in Pennsylvania have been immune

from punitive damages. This immunity from punitive damages is well-demonstrated by the

United States Supreme Court’s decision in City of Newport v. Fact Concerts, Inc., 453 U.S. 247

(1981), where the Court held that municipal governments could not be liable for punitive

damages under 42 U.S.C. § 1983 – a federal statute creating a civil cause of action for violations

of constitutional rights. To reach its conclusion in Newport, the Court began by acknowledging

“that municipal immunity from punitive damages was well established at common law” for more

than a century. 453 U.S. at 263. Importantly here, the Court in Newport focused upon an 1847

decision of our Pennsylvania Supreme Court:

       Of particular relevance to our current inquiry is Order of Hermits of St. Augustine
       v. County of Philadelphia, [4 Clark 120, Brightly N. P. 116 (Pa. 1847)], which
       involved a Pennsylvania statute that authorized property owners within the county
       to bring damages actions against it for the destruction of their property by mob
       violence. The court observed that the ‘persons’ against whom the statute
       authorized recovery included the county corporation, and it held that plaintiffs
       were entitled to compensatory damages as part of the county’s duty to make
       reparation to its citizens for injuries sustained as a result of lawless violence.
       While noting that punitive damages would have been available against the rioters
       themselves, the court nonetheless held that such exemplary damages were not
       recoverable against the county.

Newport, 453 U.S. at 262. The Order of Hermits case demonstrates that, since at least 1847,

counties in Pennsylvania have been immune from punitive damages – even where a statute

expressly creates a cause of action against the county for which punitive damages otherwise may

be recoverable.

         The rationale for immunizing counties and other government agencies from punitive

damages awards is compelling. As the United States Supreme Court explained in Newport:

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       In general, courts viewed punitive damages [against government agencies] as
       contrary to sound public policy, because such awards would burden the very
       taxpayers and citizens for whose benefit the wrongdoer was being chastised. The
       courts readily distinguished between liability to compensate for injuries inflicted
       by a municipality's officers and agents, and vindictive damages appropriate as
       punishment for the bad-faith conduct of those same officers and agents.
       Compensation was an obligation properly shared by the municipality itself,
       whereas punishment properly applied only to the actual wrongdoers. The courts
       thus protected the public from unjust punishment, and the municipalities from
       undue fiscal constraints.

Newport, 453 U.S. at 263. The Court in Newport further elaborated:

       Regarding retribution, it remains true that an award of punitive damages against a
       municipality ‘punishes’ only the taxpayers, who took no part in the commission
       of the tort. These damages are assessed over and above the amount necessary to
       compensate the injured party. … Indeed, punitive damages imposed on a
       municipality are in effect a windfall to a fully compensated plaintiff, and are
       likely accompanied by an increase in taxes or reduction of public services for the
       citizens footing the bill. Neither reason nor justice suggests that such retribution
       should be visited upon the shoulders of blameless or unknowing taxpayers.

Newport, 453 U.S. at 267 (internal citation omitted).

       A municipality can only act through its officials. Thus, an award of punitive damages

against a municipal entity itself cannot, by definition, satisfy the retributive and deterrent

purposes of punitive damages. The award is not borne by the offending officials but instead falls

upon the taxpayers, who took no part in the commission of the tort. Rather than advancing the

public interest by punishing wrongdoers, such an award instead ultimately punishes the public

through increased taxes, reductions in public services, or both.

       The Pennsylvania Supreme Court has fully adopted the reasoning of Newport, echoing

that an award of punitive damages against a government agency “cannot stand because it exacts

retribution on the shoulders of blameless or unknowing taxpayers who would bear the brunt of

the award.” City of Philadelphia Office of Housing & Cmty Dev. v. AFSCME, 583 Pa. 121, 876

A.2d 375, 378 (2005) (citing Feingold v. Southeastern Pennsylvania Transportation Authority,

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512 Pa. 567, 517 A.2d 1270, 1276-77 (1986)). The Pennsylvania Supreme Court thus has

declared it to be “against the public policy of our Commonwealth” to award punitive damages

against a government agency because “punitive damages imposed on a municipality [a]re, in

effect, a windfall to a fully compensated plaintiff and are likely accompanied by an increase in

taxes or a reduction of public services[.]” Philadelphia Office of Housing & Cmty Dev., 876

A.2d at 378.

       Pennsylvania’s intermediate appellate courts have followed suit, repeatedly finding that

government agencies are exempt from the imposition of punitive damages. See, e.g., SEPTA v.

City of Philadelphia, 122 A.3d 1163, 1172 (Pa. Cmwlth. 2015) (“punitive damages cannot be

recovered from Commonwealth agencies”); Pa. Turnpike Comm’n v. Teamsters L.U. 77, 87 A.3d

904, 914 (Pa. Cmwlth. 2014) (an arbitrator’s award imposed “not to make members whole for

lost wages, but to punish the Commission’s behavior … impermissibly assessed punitive

damages against the Commission with the effect of punishing taxpayers”); Rhoads v.

Philadelphia Housing Authority, 978 A.2d 431, 433 (Pa. Cmwlth. 2009) (“the Supreme Court

has specifically declared that such damages are not recoverable against an authority that is an

agency of the Commonwealth”).

       Consequently, punitive damages against Commissioner Gale in his official capacity are

not recoverable in this action.



IV     CONCLUSION

       For the factual reasons argued above and pursuant to the controlling decisions, all of

Plaintiffs claims against Commissioner Gale in his official capacity only must be dismissed.

Such claims are essentially claims against Montgomery County.          In this case Plaintiffs’

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complaint does not set forth any facts or specify any county policy or custom as the cause of

their alleged constitutional violation to support an action under § 1983. So too, as a matter of

law any alleged actions of Commissioner Gale acting alone do not constitute a county policy or

custom. As a result, all allegations against Commissioner Gale in his official capacity must be

dismissed.


                                            Respectfully submitted,
                                            MONTGOMERY COUNTY SOLICITOR’S
                                            OFFICE


                                            /s/ Milton Vélez
                                            Milton Vélez, Esquire
                                            One Montgomery Plaza, Suite 800
                                            P.O. Box 311
                                            Norristown, PA 19404-0311
                                            610-278-3033

                                            Counsel for Defendant,
                                            Joseph C. Gale,
                                            in his Official Capacity only


Dated: July 23, 2020




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                       CERTIFICATE OF SERVICE


   I, Milton Vélez, hereby certify that a true and correct copy of the Motion of Defendant

Joseph C. Gale, in his Official Capacity Only, for Partial Dismissal of Plaintiffs’ Complaint

was served on the 23rd day of July, 2020, via electronic notification through the Court’s ECF

System, upon the following counsel of record:

   Joseph P. Walsh, Esquire              Adam Zucker, Esquire
   Michael J. Lyon, Esquire              Samantha Harris, Esquire
   2028 North Broad Street               325 Sentry Parkway
   Lansdale, PA 19446-1004               Building 5 West, Suite 320
                                         Blue Bell PA 19422
   Philip Press, Esquire
   30 West Airy Street
   Norristown, PA 19401



                                                         /s/ Milton Vélez
                                                         Milton Vélez, Esquire
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

GABRIELLE DEARDORFF, BRYAN                     :
OTERI, CAROLINE & CO MEDIA LLC,                :
d/b/a SAVVY MAIN LINE,                         :
MONICA D’ANTONIO, ELAINE                       :
HANNOCK, KAREN HAYMAN,                         :
ZAK HUTCHINSON, and ELIZABETH C.               :
BROOKS,                                        :    NO.
                                               :
                               Plaintiffs      :
       v.                                      :
                                               :
JOSEPH C. GALE, Individually and in            :
His Official Capacity as Commissioner of       :
Montgomery County, PA; and FRIENDS             :
OF JOE GALE,                                   :
                            Defendants         :

                                             COMPLAINT

       COME NOW, Plaintiffs Gabrielle Deardorff, Bryan Oteri, Caroline & Co Media LLC d/b/a

SAVVY Mainline LLC, Monica D’Antonio, Elaine Hannock, Karen Hayman, Zak Hutchinson,

and Elizabeth C. Brooks and state as their Complaint for Relief:

                                            INTRODUCTION

       1.      Defendant Joseph C. Gale (“Gale” or “Commissioner Gale”) is an elected official,

having served as a Commissioner of Montgomery County, PA since 2015.

       2.      Gale was elected as a Commissioner of Montgomery County in November of 2015

and sworn into office in January 2016.

       3.      Thereafter, Gale was re-elected in November of 2019 and sworn into office for a

second term in January 2020.

       4.      During his time as Commissioner, Gale has maintained a number of social media

accounts, including, but not limited to, a Facebook page, a Twitter account, and an Instagram

account, where he regularly communicates information regarding official government business and
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policy to his followers and invites comments.

       5.       Gale has frequently used these accounts to express his own views regarding

political, governmental, and, most recently, social issues.

       6.       However, in a blatant effort to chill speech and suppress what has become regular

opposition or dissent to his views, Defendants have excluded or blocked a number of users,

including Plaintiffs, from access to his social media accounts, merely because Defendants disagree

with the viewpoints these users have expressed. Defendants have also removed comments and

dialogue, expressing viewpoints that he personally finds objectionable, preventing other

Montgomery County residents and social media users from full consumption and viewing of that

dialogue.

       7.       Defendants have not only engaged in impermissible viewpoint discrimination by

blocking users from these social media accounts, they have also deprived any individual visiting

these pages of their right to read the speech of the dissenters who have been blocked.

       8.       These practices are entirely unconstitutional under the First Amendment to the

United States Constitution and Article I, Section 7 of the Pennsylvania Constitution.

       9.       Plaintiffs, therefore, file this lawsuit to restore their constitutional rights, redress

Defendants’ blatant violation of them, and order Defendants to restore their access and to ensure

that the platform for free speech and recognition that he created remains available to all.

       10.      To be clear, there can be no question that Gale has an unfettered, unencumbered

right to express his own viewpoints. This lawsuit does not seek to change that. It simply demands

that Defendants extend the same protection to those individuals who enjoy the same exact rights,

and to immediately cease their own actions to abridge them.

                                           THE PARTIES

       11.      Plaintiff Gabrielle Deardorff is an adult individual who resides in Limerick
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Township, Montgomery County, PA.

       12.      At all times relevant to the allegations in this Complaint, Plaintiff Deardorff was,

and continues to be, a resident of Montgomery County and was, and continues to be, similarly a

constituent of Commissioner Gale.

       13.      Plaintiff Deardorff operates a Facebook account at facebook.com/abby.a.deardorff,

a Twitter account under the handle @gabriellemaryrn, and/or an Instagram account under the

handle @gabriellemaryrn.

       14.      Plaintiff Bryan Oteri is an adult individual who resides in Lower Gwynedd

Township, Montgomery County, PA.

       15.      At all times relevant to the allegations in this Complaint, Plaintiff Oteri was, and

continues to be, a resident of Montgomery County and was, and continues to be, similarly a

constituent of Commissioner Gale.

       16.      Plaintiff Oteri maintains a Twitter account under the handle @OT_b1, and an

Instagram account under the handle @ohhhhhteeeee.

       17.      Plaintiff Caroline & Co Media LLC d/b/a SAVVY Mainline LLC (“SAVVY”) is a

Pennsylvania registered limited liability company with a principal place of business located in

Tredyffrin Township, Chester County, PA.

       18.      SAVVY is a monthly online publication that regularly reports on events, activities,

news items, and other items of interest in Montgomery County and the Main Line of Philadelphia.

A substantial portion of the subscriber base and readership that Plaintiff SAVVY publishes to

resides in Montgomery County.

       19.      Plaintiff SAVVY maintains a Facebook account at facebook.com/SAVVY-Main-

Line-6522991115682367/, a Twitter account under the handle @SAVVYMainLine, and/or an

Instagram account under the handle @savvymainline.
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       20.      Plaintiff Monica D’Antonio is an adult individual who resides in West Norriton

Township, Montgomery County, PA.

       21.      Plaintiff D’Antonio is Associate Professor of English at Montgomery County

Community College and serves as a member of the Norristown Area School Board. She also

serves on the West Norriton Human Relations Commission.

       22.      At all times relevant to the allegations in this Complaint, Plaintiff D’Antonio was,

and continues to be, a resident of Montgomery County and was, and continues to be, similarly a

constituent of Commissioner Gale.

       23.      Plaintiff     D’Antonio       maintains       a      Facebook        account       at

facebook.com/monica.dantonio.98, a Twitter account under the handle @monica_dantonio, and an

Instagram account under the handle @monicadantonio15.

       24.      Plaintiff Elaine Hannock is an adult individual residing in Marlborough Township,

Montgomery County, Pennsylvania.

       25.      At all times relevant to the allegations in this Complaint, Plaintiff Hannock was,

and continues to be, a resident of Montgomery County and was, and continues to be, similarly a

constituent of Commissioner Gale.

       26.      Plaintiff Hannock maintains a Facebook account at facebook.com/Elaine.hannock,

and a Twitter account under the handle @jewesss.

       27.      Plaintiff Karen Hayman is an adult individual residing in West Norriton Township,

Montgomery County, Pennsylvania.

       28.      At all times relevant to the allegations in this Complaint, Plaintiff Hayman was, and

continues to be, a resident of Montgomery County and was, and continues to be, similarly a

constituent of Commissioner Gale.
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       29.      Plaintiff Hayman maintains a Twitter account under the handle @karenmhayman.

       30.      Plaintiff Zak Hutchinson is an adult individual residing in Upper Moreland

Township, Montgomery County, PA.

       31.      At all times relevant to the allegations in this Complaint, Plaintiff Hutchinson was,

and continues to be, a resident of Montgomery County and was, and continues to be, similarly a

constituent of Commissioner Gale.

       32.      Plaintiff Hutchinson maintains a Facebook account at facebook.com/zhutch87, a

Twitter account under the handle @simp_for_marx, and an Instagram account under the handle

@koopertrooper87.

       33.      Plaintiff Elizabeth C. Brooks is an adult individual residing in Wyndmoor,

Springfield Township, Montgomery County, PA.

       34.      At all times relevant to the allegations in this Complaint, Plaintiff Brooks was, and

continues to be, a resident of Montgomery County and was, and continues to be, similarly a

constituent of Commissioner Gale.

       35.      Plaintiff Brooks also maintains a place of business in Wyndmoor, Springfield

Township, Montgomery County.

       36.      Plaintiff Brooks maintains a Facebook account at facebook.com/Elizabeth.Brooks, a

Twitter account under the handle @LizBrooksIBCLC, and/or an Instagram account under the

handle @ecbrks.

       37.      Defendant Joseph C. Gale is an elected Commissioner of Montgomery County, PA,

and in his official capacity has a principal place of business at One Montgomery Plaza,

Norristown, PA 19401.

       38.      Defendant Friends of Joe Gale (“Friends”) is an organization that assists Defendant
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in the operation and maintenance of his social media accounts and has a principle place of business

at 628 Launfall Road, Plymouth Meeting, PA 19462.

        39.      At all times relevant to the Complaint, upon information and belief, Defendant Gale

and/or Defendant Friends, in their official capacities, maintained the Facebook, Twitter, and

Instagram profiles described infra paragraphs 78-116 herein.

        40.      At all times relevant to the allegations made in this Complaint, Commissioner Gale

and Friends acted under color of state law and therefore are subject to liability under 42 U.S.C. §

1983.

                                    JURISDICTION AND VENUE

        41.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, 28 U.S.C.

§ 2201-2202, and 28 U.S.C. § 1367.

        42.      Venue is proper in this district court under 28 U.S.C. § 1391(b)(1), as

Commissioner Gale is a resident of this judicial district and all Defendants are residents of the state

in which the District is located.

        43.      In addition, venue is proper in this district court under 28 U.S.C. § 1391(b)(2), as a

substantial part of the events giving rise to this claim occurred in this District.

                                    FACTUAL ALLEGATIONS

        A.       The Use of Social Media Accounts

                 1.     Twitter

        44.      Plaintiffs repeat the allegations previously set forth in this Complaint and

incorporate them as though fully stated herein.

        45.      Twitter is a social media platform with more than 300 million active users

worldwide, including more than 100 million who use the service on a daily basis.

        46.      The platform allows “users” to publish short updates or messages of no more than
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280 characters called “tweets,” to “Retweet” or republish tweets uploaded or sent by other users,

and to respond to the tweets of other users or the responses of tweets by other users.

       47.      Tweets can, and often do, also include photographs, videos, links, or other content

in addition to the 280-character limit.

       48.      A person or entity becomes a Twitter “user” by creating an account on the platform.

Each user selects a “handle,” which is the manner in which the username is presented on the

platform. Each Twitter handle begins with an “@” character, normally followed by a series of

letters and/or numbers selected by the user.

       49.      Any time a user posts a Tweet, they are collected and aggregated together under the

user’s individual Twitter account known as a “Timeline.” All of a user’s tweets are displayed in

reverse chronological order, with the most recent tweets appearing at the top of the Timeline.

       50.      A user’s Twitter page also contains information that identifies the individual or

entity that tweets from or operates the account. The page may also include a biographical or other

description of the user, a photograph or photographs of the user, the location from where the user

established the account or chooses to be physically located in, and a collection of media, including

but not limited to files, photographs, and videos, that the user has Tweeted or posted about.

       51.      Any user who is able to view another public user’s Twitter page is also able to view

the other user’s Timeline.

       52.      A user may also elect to “Follow” another user. This places all of the other user’s

Tweets, and tweets of any other users that the individual user has elected to follow, into a separate

collection of tweets by other users called a “Feed.”

       53.      Twitter also aggregates any replies and retweets into a separate section of the user’s

profile called “Tweets & replies.” From this section, a user can view any other public user’s

tweets, replies, and retweets created by the user.
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       54.      A user may also “like” a tweet sent by another user by clicking on a heart icon

depicted directly below an individual tweet. All tweets that a user has liked are displayed in a

separate section of the user’s Twitter profile under the heading “Likes.”

       55.      By default, a Twitter profile is public and available for viewing for anyone on the

platform. However, a user may decide to limit who is able to see and interact with their tweets by

“protecting” their Twitter profile or tweets. Any tweets that are protected are not available for

viewing for public users, and instead are viewable only by a select group of users who the user has

permitted to view his, her, or its content.

       56.      A Twitter user also has the ability to “block” another user from having any access

to the user’s profile. A user who is blocked from the tweets of another user is prevented from

seeing any tweets, replies, retweets, media, likes, or other content published to the user’s Twitter

account. The blocked user is also prevented from even seeing the user’s Twitter profile on the

platform, and cannot use the platform to otherwise search for the user’s tweets.

       57.      If a user has been blocked from access to another user’s tweets or profile, the user

will see a message indicating that he/she/it has been blocked from following the other user’s

Twitter account and viewing tweets associated with it.

                2.     Facebook

       58.      Facebook is a social media platform that permits individuals or entities to post

messages, updates, content, and other media to individual accounts for viewing by others.

       59.      Facebook also allows frequent interaction by individual users with other Facebook

accounts.

       60.      In order to access Facebook, an individual must first create a Facebook “profile,”

where the person can choose to share information about themselves, their interests, hometown,
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work and leisure pursuits, and/or updates.

        61.      Following the creation of a Facebook profile, an individual may then create a

Facebook “Page,” which is often used by businesses, organizations, nonprofits, and, of particular

relevance to this case, public figures and elected officials.

        62.      Pages are often used by public figures and elected officials to connect with their

constituents and to provide information relating to official government business, policymaking,

constituent services, or appearances in the area. These pieces of content or information are known

as individual “posts.”

        63.      The person, or persons, who regularly publish posts to a Facebook page and

maintain the same are known as “Administrators.”

        64.      The default setting for a Facebook page is for it to be publicly available, so that

anyone with a Facebook account can have access to it and see the content posted. However, a

Page administrator can choose to limit access to a Facebook page only to those who he or she

invites to see the content posted. If access is limited, information shared on the page can be seen

only by those who have been expressly granted access by the Administrator.

        65.      In order to interact with a Facebook page, an Administrator may and often does

choose to allow other Facebook profiles to “Like” or “Comment” upon one or more posts to the

Page.

        66.      An administrator may also block an individual Facebook profile’s access to an

otherwise publicly available page. The administrator also has the ability to delete any comments

from a publicly available page at his/her discretion.

        67.      If a Facebook profile owner has been blocked from viewing a Page, the owner will

not be able to view the Page from within his/her/its own Facebook account.
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                 3.     Instagram

        68.      Instagram is a social media platform that allows its users to upload photographs or

videos, often taken on users’ mobile phones or devices, for other users to view.

        69.      In order to access Instagram, an individual or entity must first sign up for an

Instagram account. Like Twitter, an Instagram user must first select a “handle,” which also begins

with an “@” character, normally followed by a series of letters and/or numbers selected by the

user.

        70.      A user can post a photograph or video to his, her, or its Instagram profile, and may

also append a comment to the photograph or video. Once uploaded, the photograph or video, and

any associated comments posted by the user, become viewable within the Instagram user’s profile.

        71.      Other Instagram users can then interact with the user who posted the photograph or

video by adding his, her, or its own comments to the post.

        72.      All photographs and videos posted by an Instagram user are aggregated within the

user’s Instagram profile. Like Twitter and Facebook, the default setting within Instagram is that

each user’s profile is publicly viewable. Thus, any photographs or videos posted by the user, as

well as any comments the user uploads and any comments other users append to the user’s posts,

are viewable by any other Instagram user.

        73.      An Instagram user may decide to limit who is able to see and interact with their

tweets by making his, her, or its profile “private.” This prevents other users from viewing the

user’s photographs, videos, and comments. Another Instagram user can request to “follow” a

private Instagram user, but will only be permitted to see the private user’s Instagram content if the

private user approves the request and permits the other user to do so.

        74.      An Instagram user also has the ability to “block” another user from having any
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access to the user’s profile. A user who is blocked is prevented from seeing any photographs,

videos, comments, or other content posted to the other user’s account. The blocked user is also

prevented from even seeing the user’s Instagram profile on the platform, and cannot use the

platform to otherwise search for the user’s tweets.

        75.      If an Instagram user has been blocked from access to another user’s profile, the user

will see a message indicating that he/she/it has been blocked from following the other user’s

account and viewing the content associated with it.

        B.       Commissioner Gale’s Use of Social Media

        76.      Plaintiffs repeat the allegations previously set forth in this Complaint and

incorporate them as though fully stated herein.

        77.      In 2015, Gale was elected to the Board of Commissioners of Montgomery County,

Pennsylvania for a four-year term. He was sworn into office on January 4, 2016.

        78.      In January of 2016, Gale and/or Friends established a Twitter account under the

handle @JoeGalePA, which continues to exist today.

        79.      Upon establishment of the account, and at all times until on or about June 7, 2020,

Gale identified himself in his Twitter profile description as “Montgomery County Commissioner,”

referring to his elected title.

        80.      The profile photo on the account shows Gale speaking from behind a podium

bearing the official seal of Montgomery County, and the banner photo shows Gale shaking hands

with certain individuals under the text “Joe Gale, Montgomery County Commissioner:” 1




1
  All screenshots presented within paragraphs 78-96 of the Complaint are true and correct copies of tweets and/or
content posted to the @JoeGalePA Twitter account, which can be found at https://twitter.com/joegalepa?lang=en. This
Web page was last accessed on June 25, 2020.
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       81.      The account states that Gale’s location is “Norristown, PA,” the same municipality

where Gale’s official government office as a Commissioner of Montgomery County is located.




       82.      Upon information and belief, Gale’s home residence is not in Norristown but rather

is in Plymouth Meeting, PA.

       83.      Almost instantly after being sworn into office, Gale and/or Friends began to use the

@JoeGalePA account to communicate with his followers and constituents regarding his official

duties as Commissioner of Montgomery County.

       84.      Defendants continue to use the @JoeGalePA account to communicate with

followers and constituents regarding Gale’s official governmental duties and business, to give

updates on County policies and procedures, and to share Gale’s viewpoints on various political and

governmental issues of the day.

       85.      For example, on January 14, 2016, Gale and/or Friends tweeted a collage of

photographs from Commissioner Gale’s meeting with then-Secretary of Labor Thomas Perez, who

was visiting Montgomery County:
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       86.      Upon information and belief, and based upon his presence in the photographs with

the other two Commissioners of Montgomery County, Gale would not have been invited to meet

Secretary Perez aside from his official capacity as Commissioner.

       87.      Throughout his tenure as Commissioner, Gale and/or Friends continued to use

@JoeGalePA to post content and updates regarding official Montgomery County government

business.

       88.      On March 5, 2020, Gale and/or Friends posted a photo of Gale with two other

individuals and captioned it: “Excited to help build a foreign exchange student partnership between

Germany and Montgomery County Community College.” Upon information and belief, Gale

would not have been invited to participate in this program and event had it not been for his

position as a Montgomery County Commissioner.
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       89.      Additionally, on March 10, 2020 Gale and/or Friends posted about a speaking

engagement with the Montgomery County Association of Township Officials and advocated for “a

strong bond between township and county government.”




       90.      Upon information and belief, Gale would not have been speaking at this event, nor

posting about it, but for his position as a Montgomery County Commissioner.

       91.      And, on April 27, 2020, Gale and/or Friends tweeted an announcement that the

Small Business Administration was again accepting applications for the Paycheck Protection

Program. Included within the tweet was a video of Gale speaking from behind a Montgomery

County Department of Public Safety podium:
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      92.      Gale and/or Friends also used @JoeGalePA to inform individuals who came to his

page about Montgomery County policies and procedures being implemented. On March 8, 13, and

20, 2020, Gale and/or Friends posted updates and information about COVID-19 in Montgomery

County:
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       93.      Defendants also frequently used @JoeGalePA to express Gale’s viewpoints

regarding actions being taken by the other Commissioners of Montgomery County and other

governmental departments and agencies in Montgomery County and elsewhere. As the minority

Commissioner during his four-year term, Gale frequently expressed his opposition to actions taken

by the other two Commissioners on @JoeGalePA.

       94.      On May 20 and 21, 2020, Gale and/or Friends tweeted about Gale’s disagreement

with a different Commissioner of Montgomery County on the issue of social distancing and

wearing masks in the face of the COVID-19 pandemic.
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      95.      Additionally, on April 18, 2020, Gale and/or Friends used @JoeGalePA to express

his dissatisfaction with the COVID-19 emergency orders issued by Pennsylvania Governor

Thomas Wolf:
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        96.      As a public profile, Defendants’ posts at @JoeGalePA were, and continue to be,

available to any user Twitter users. Defendants have not protected this account; anyone who

wishes to follow @JoeGalePA can do so, and any user can locate @JoeGalePA on the Twitter

platform.

        97.      In the midst of his campaign for Commissioner, Gale, who had previously

established a Facebook profile under his own name, and/or Friends created a Facebook Page called

“Vote Joe Gale,” which can be found at https://www.facebook.com/JoeGalePA.

        98.      Ostensibly created in an effort to promote his candidacy for Commissioner, after his

election in 2015, and inauguration to the position in January 2016, Gale and/or Friends

nevertheless immediately began using Vote Joe Gale as his official public page to communicate

with followers and constituents regarding Gale’s official governmental duties and business, giving

updates on County policies and procedures, and sharing Gale’s viewpoints on various political and

governmental issues of the day.

        99.      Gale again identified himself as a “Montgomery County Commissioner” in this

Facebook profile after it was created.

        100.     The banner photograph for the page was, and remains, a photo of an inauguration

ceremony in which Gale was sworn into his official role as Commissioner. The page’s identifying

photograph also depicts Gale making remarks from a podium bearing the seal of Montgomery

County, with several judges of the Court of Common Pleas of Montgomery County pictured

behind him:2




2
  All screenshots presented within paragraphs 97-107 of this Complaint are true and correct copies of posts and/or
content posted to the Vote Joe Gale Facebook page, which can be found at https://www.facebook.com/JoeGalePA. This
Web page was last accessed on June 25, 2020.
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       101.   The Facebook page is designated as belonging to a “Politician.”

       102.   Gale and/or Friends similarly used Vote Joe Gale to communicate official

governmental information to Gale’s constituents and members of the public. Often, these official

pronouncements mirrored those Gale and/or Friends would publish to the @JoeGalePA Twitter

account, including a post on March 8, 2020 regarding the COVID-19 pandemic in Montgomery

County:
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       103.   In addition, on May 4, 2020, Gale and/or Friends uploaded a post regarding the

availability of Personal Protective Equipment (PPE) in Pennsylvania, above a photo of Gale

speaking from behind a Montgomery County Department of Public Safety podium:




       104.   And, on May 13, 2020, Gale and/or Friends posted information about in-person

polling locations for Montgomery County residents, above a video of a news appearance in which

Gale was identified as “Joe Gale, Montgomery County Commissioners:”
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       105.     Like Twitter, Defendants have also frequently used Vote Joe Gale to publicize

Gale’s own viewpoints on political, social, and governmental issues in Montgomery County and

elsewhere. On May 2, 2020, Gale and/or Friends posted commentary from Gale in which he

criticized former Pennsylvania Governor Tom Ridge and advocated for a change in leadership in

Pennsylvania:
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       106.   From its inception in 2015, Vote Joe Gale was set up as a public Facebook page,

accessible to any Facebook user who wished to view it. The posts Gale and/or Friends have made

to Vote Joe Gale were, and continue to be, publicly available for any user to view and comment on

who is not otherwise blocked, banned, or restricted from the page.

       107.   Gale and/or Friends has never limited access to Vote Joe Gale. It has always been a

publicly available page, and users viewing content posted to the page have the ability to react to

his posts and post their own comments regarding the same.



       108.   Before the Pennsylvania primary election in 2019, Gale announced that he would be

seeking re-election for another four-year term on the Board of Commissioners. In March of 2019,

Gale and/or Friends created the Instagram account @votejoegale, and began posting content to the

account documenting his activities and positions.

       109.   As he did with his Twitter and Facebook accounts, Gale identified himself (and
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continues to identify himself) as a Montgomery County Commissioner in his Instagram profile

photograph:3




        110.     Gale and/or Friends quickly began using this account for more than campaign

activities: Gale and/or Friends would soon begin posting photographs, messages, and videos to the

@votejoegale account regarding Gale’s official government business as an elected official.

        111.     Indeed, the @votejoegale Instagram account virtually mirrored the content posted

to his @JoeGalePA Twitter account and his Vote Joe Gale Facebook Page. Gale and/or Friends

regularly posted photographs, videos, and content regarding Gale’s role as a Montgomery County

Commissioner, his activities in that capacity, and his viewpoints on political, social, and economic

issues surrounding the County and the United States.



        112.     On February 25, 2020, Gale and/or Friends posted a photograph and an associated

comment regarding a visit Gale made to A.W. Mercer, a business in Boyertown within

Montgomery County:




3
  All screenshots presented within paragraphs 108-116 of this Complaint are true and correct copies of posts and/or
content posted to the @votejoegale Instagram account, which can be found at https://www.instagram.com/votejoegale/.
This Web page was last accessed on June 25, 2020.
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       113.   Gale and/or Friends similarly used the @votejoegale Instagram page to post regular

content regarding Gale’s viewpoints on political, social, and economic issues. On April 26, 2020,

Gale and/or Friends posted a photograph and associated comment in which Gale criticized

Philadelphia Mayor Jim Kenney:
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       114.   As Defendants began uploading content in the same way that they had on Twitter

and Facebook, many Instagram users began interacting with posts from the @votejoegale

Instagram account, and many users posted comments regarding the posts.

       115.   At no time was the @votejoegale Instagram account made private, nor was access

restricted at any time to certain Instagram users by permission. Rather, the content at all times
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was, and continues to be, made publicly available to any Instagram user to view and comment

upon.

         116.    Gale and/or Friends regularly uploaded content concerning Gale’s role as

Montgomery County Commissioner to each of the above-referenced social media accounts and

provided information to the public at large about his activities. By so doing, Defendants created

public fora for Montgomery County residents and Gale’s constituents to participate in, and content

for participants to interact about.

         C.      Defendants’ Campaign to Restrict Speech on the Official Social Media
                 Accounts

         117.    Plaintiffs repeat the allegations previously set forth in this Complaint and

incorporate them as though fully stated herein.

         118.    At all times from their inception, the aforementioned Twitter, Facebook, and

Instagram profiles remained publicly viewable and free for consumption and comment by any

users.

         119.    However, Gale and/or Friends soon began a targeted campaign to silence

constituents within Montgomery County and social media users as a whole who disagreed with

Gale’s viewpoints. That campaign was, and continues to be, a direct and complete violation of the

First Amendment rights of these users, and of those who wish to see the complete marketplace of

ideas surrounding the content posted to Defendants’ social media accounts.

         120.    Upon information and belief, Gale and/or Friends began to block users from

viewing the tweets at @JoeGalePA no later than the year 2017, just one year after being sworn into

his elected position as a Montgomery County Commissioner. Upon further information and belief,

Gale and/or Friends began blocking individuals from viewing content associated with his

Facebook profile in the same timeframe.

         121.    The vast majority of social media users blocked by Gale and/or Friends were those
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who posted comments or content expressing disagreement, disappointment, or opposition to

viewpoints that Gale expressed. Gale and/or Friends continued to permit interaction on his Twitter

and Facebook profiles with those users that expressed support, agreement, or admiration for his

viewpoints or work as a Commissioner.

       122.    Not only did Gale and/or Friends individually target and block users who disagreed

with them, but they also ensured that many negative comments or content posted to his Twitter or

Facebook accounts were deleted, excised, or disposed of so that others could not see them. Gale

and/or Friends selectively deleted a number of these comments so that users who would otherwise

be able to view all content on his accounts were no longer able to see the comments expressing

disagreement or opposition, and otherwise would not have been aware that such opposing

viewpoints had been expressed.

       123.    Gale and/or Friends continued this campaign of suppression after beginning his

Instagram account in 2019.       They systematically blocked disfavored Instagram users from

accessing the @votejoegale account, and regularly deleted comments from the account that Gale

and/or Friends found unfavorable.

       D.      The June 1, 2020 Statement

       124.    Plaintiffs repeat the allegations previously set forth in this Complaint and

incorporate them as though fully stated herein.

       125.    Gale and/or Friends continued to post regular content regarding Gale’s official

activities as Montgomery County Commissioner from each of the aforementioned social media

accounts throughout his first term as Commissioner, as well as after Gale’s re-election in 2019 and

swearing in for another term in January 2020.

       126.    On June 1, 2020, Gale and/or Friends posted the following statement on his

@JoeGalePA Twitter account, Vote Joe Gale Facebook page, and @votejoegale Instagram
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account:4




        127.     Gale gave the statement the utmost appearance of an official proclamation in his

capacity as a Montgomery County Commissioner.                     He issued the statement on letterhead

purportedly bearing the seal of Montgomery County, and under his official title as Montgomery

County Commissioner. Id. The bottom of the statement also provided his official governmental

address (P.O. Box 311, Norristown, PA 19401-0311), and his official governmental e-mail address

(joe@MontcoPa.org). Id.


4
  A true and correct copy of the statement is separately appended to this Complaint as Exhibit “A.” It is hereinafter
often referred to in this Complaint as the “June 1 Statement.”
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        128.    The June 1 Statement drew immediate condemnation not only from multiple users

across social media, but also from multiple public officials, groups, and other elected officials.

The supervisory boards of a number of governmental municipalities issued statements condemning

Gale’s statement and calling for him to resign. Other groups and individuals, including, but not

limited to, the Police Chiefs Association of Montgomery County, the Lower Merion School Board,

and the mayors of nine separate municipalities within Montgomery County, similarly condemned

the statement and disassociated themselves from his comments.

        129.    The other two members of Montgomery County’s Board of Commissioners voted to

censure Gale at the Board of Commissioners’ regular meeting on June 4, 2020, a meeting that also

drew a number of public comments condemning the June 1 statement.

        130.    The statement also attracted considerable media coverage in the greater

Philadelphia community, and did not go unnoticed by state lawmakers in Harrisburg.                      One

lawmaker, Representative Joseph Webster of Montgomery County, announced plans to introduce a

resolution calling for Gale’s immediate impeachment, and then introduced the same into the

Pennsylvania legislature on June 23, 2020.5

        131.    The June 1 Statement also attracted widespread opposition on social media.

Multiple users posted comments and content expressing their disagreement or disgust with the

statement, and many others called for Gale’s immediate resignation.

        132.    Despite the widespread opposition to the content of his statement, Gale enjoys, and

should enjoy, the right under the First Amendment to the United States Constitution and Article I,

Section 7 of the Pennsylvania Constitution to express his own viewpoints. Plaintiffs herein do

not seek to disturb that right. As described infra, they instead request that Defendants

5
 See Pennsylvania H.R. 920, Session of 2020, a true and correct copy of which is attached as Exhibit “B” and is
accessible at:
https://www.legis.state.pa.us/CFDOCS/Legis/PN/Public/btCheck.cfm?txtType=PDF&sessYr=2019&sessInd=0&billBod
y=H&billTyp=R&billNbr=0920&pn=4004 (last visited June 25, 2020).
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immediately cease infringing upon their identical rights.

        E.      Gale and/or Friends Block the Individual Plaintiffs from Their Social Media
                Accounts

                1.      Plaintiff Deardorff

        133.    Plaintiffs repeat the allegations previously set forth in this Complaint and

incorporate them as though fully stated herein.

        134.    As a member of the public, and as one of Gale’s constituents, Plaintiff Deardorff

had and continues to have a vested interest in and regularly followed Gale’s activities across the

aforementioned social media accounts.

        135.    Following Gale’s publication of his June 1 statement, Plaintiff Deardorff viewed the

statement on the Vote Joe Gale Facebook page, @JoeGalePa Twitter feed, and on the

@votejoegale Instagram profile maintained by Defendants.

        136.    In response to the post, on Tuesday, June 2, Plaintiff Deardorff responded to the

statement by posting a comment to the post of the statement on the @votejoegale Instagram page

that stated “Resign.”

        137.    Later, on June 2, 2020, Gale and/or Friends uploaded another post to Instagram in

which Gale alleged that another Commissioner of Montgomery County had displayed hypocrisy

by not observing social distancing requirements.

        138.    In response to that post, Plaintiff Deardorff posted a comment that called the other

Commissioner a “real leader” and again urged Gale to resign.

        139.    On June 4, 2020, Gale and/or Friends posted a statement by Gale to Twitter which

read:
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       140.    In response to that post, Plaintiff Deardorff posted a reply to the tweet that stated,

“If you were really pro life [sic] and not just pro white fetus, you wouldn’t be such a racist.”

       141.    True and correct copies of the above-cited posts by Deardorff are attached as

Exhibit “C.”

       142.    By June 4, 2020, Plaintiff Deardorff discovered that she had been blocked from all

three of the social media accounts maintained by Defendants.

       143.    Defendants’ blocking of Plaintiff Deardorff from Gale’s official Twitter, Facebook,

Instagram profile prevents Plaintiff Deardorff not only from viewing Gale’s own uploaded content,

but also from viewing the comments and replies of other users and from participating in the feeds

associated with this content.

               2.      Plaintiff Oteri

       144.    Plaintiffs repeat the allegations previously set forth in this Complaint and

incorporate them as though fully stated herein.

       145.    As a member of the public, and as one of Gale’s constituents, Plaintiff Oteri had,

and continues to have, a vested interest in and regularly followed Gale’s activities across the

aforementioned social media accounts. Specifically, he followed the @JoeGalePA Twitter page
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and the @votejoegale Instagram page through his own social media accounts.

       146.    Following Gale’s publication of his June 1 statement, Plaintiff Oteri viewed the

statement on the @votejoegale Instagram profile maintained by Defendants.

       147.    In response to the post, on Tuesday, June 2, Plaintiff Oteri responded to the

statement by posting a comment to the post of the statement on the @votejoegale Instagram page

that stated “Yet you choose to silence constituents by blocking them on social media or censoring

their comments on your posts? #peoplebeforepolitics.” A true and correct copy of the comment

sent by Plaintiff Oteri is attached as Exhibit “D.”

       148.    By June 4, 2020, Plaintiff Oteri discovered that he had been blocked from Gale’s

official Instagram profile maintained by Defendants.

       149.    Defendants’ blocking of Plaintiff Oteri from Gale’s official Instagram profile

prevents Plaintiff Oteri not only from viewing Gale’s own uploaded content, but also from viewing

the comments and replies of other users and from participating in the feeds associated with this

content.

               3.      Plaintiff SAVVY

       150.    Plaintiffs repeat the allegations previously set forth in this Complaint and

incorporate them as though fully stated herein.

       151.    Plaintiff SAVVY is a wide-ranging periodical and publication that reports on events

and activities within Montgomery County that counts hundreds of Montgomery County residents

among its readership. As such, Plaintiff SAVVY has and continues to have a vested interest in and

regularly followed Gale’s activities across his social media accounts.

       152.    At all times relevant to the allegations in this Complaint, Caroline & Co Media LLC

d/b/a SAVVY Main Line has been owned and operated by Caroline O’Halloran, who also controls

Plaintiff’s SAVVY’s social media accounts.
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       153.    Following Gale’s first election to the Board of Commissioners in 2015, O’Halloran

interviewed Gale for the possibility of an article for Plaintiff SAVVY regarding his election and

official duties. Although Gale inquired of O’Halloran several times as to when he could expect to

read the published article, O’Halloran chose not to publish it in SAVVY.

       154.    Even after writing a separate article in May 2020 that reported on Gale’s opposition

to testing for COVID-19 exposure, Plaintiff SAVVY remained able to view Gale’s official social

media accounts without restriction.

       155.    Following the publication of Gale’s June 1 statement on his official @JoeGalePA

Twitter feed, on June 2, 2020, Plaintiff SAVVY, through its own Twitter account, responded to the

tweet by stating, “Please do your homework about the Black Lives Matter movement before

drafting such statements. You are woefully misinformed.”         A true and correct copy of the

comment sent by Plaintiff SAVVY is attached as Exhibit “E.”

       156.    After posting the response, Plaintiff SAVVY again attempted to view the

@JoeGalePA Twitter account. It was only after returning to the page that Plaintiff SAVVY saw

that Defendants had blocked it from access the account.

       157.    Defendants’ blocking of Plaintiff SAVVY from Gale’s official Facebook and

Twitter accounts prevents Plaintiff SAVVY not only from viewing Gale’s own uploaded content,

but also from viewing the comments and replies of other users and from participating in the feeds

associated with this content.

               4.      Monica D’Antonio

       158.    Plaintiffs repeat the allegations previously set forth in this Complaint and

incorporate them as though fully stated herein.

       159.    As a member of the public, and as one of Gale’s constituents, Plaintiff D’Antonio

had and continues to have a vested interest in and regularly followed Gale’s activities across his
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social media accounts.       Plaintiff D’Antonio’s interest in Gale’s official activities and

pronouncements from his social media accounts is even further enhanced by her status as an

elected official in Norristown Borough.

       160.    On May 19, 2020, Gale and/or Friends posted a photo to the @JoeGalePA account

depicting a meeting of the Board of Commissioners along with a comment from Gale in which he

criticized another Commissioner as being “two faced” and “only practicing social distancing and

mask wearing when on camera for press conferences.” The photo was undated.




       161.    Through her own Twitter account, Plaintiff D’Antonio commented on this post

saying, “Because it’s coming from you, I’d like to see a date on that pic.”
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       162.    Plaintiff D’Antonio also viewed the June 1 Statement on Gale’s official Facebook

and Instagram pages.

       163.    After viewing the June 1 Statement, Plaintiff D’Antonio posted a comment to the

Facebook post publishing the statement expressing her disagreement with the same. Plaintiff

D’Antonio posted a similar comment under the Instagram post where Defendants had published

the June 1 Statement.

       164.    Following her posts to Defendants’ Facebook and Instagram accounts, Plaintiff

D’Antonio attempted to view those accounts to see further discourse related to them. It was only

after returning to the Facebook and Instagram accounts that Plaintiff D’Antonio realized that

Defendants had blocked her from access to the accounts.

       165.    Defendants’ blocking of Plaintiff D’Antonio from Gale’s official Facebook and

Instagram accounts prevents Plaintiff D’Antonio not only from viewing Gale’s own uploaded

content, but also from viewing the comments and replies of other users and from participating in

the feeds associated with this content.

               5.       Elaine Hannock

       166.    Plaintiffs repeat the allegations previously set forth in this Complaint and

incorporate them as though fully stated herein.

       167.    As a member of the public, and as one of Gale’s constituents, Plaintiff Hannock had

and continues to have a vested interest in and regularly followed Gale’s activities across his

Twitter and Facebook accounts.

       168.    Following the publication of Gale’s June 1 Statement, Plaintiff Hannock posted a

comment on June 3, 2020 directly under his publication on Facebook in which she expressed her

opposition to the Statement. That comment is no longer viewable, as, upon information and belief,
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Defendants selectively deleted it.

        169.     Also on June 3, 2020, Plaintiff Hannock replied to Defendants’ publication of the

June 1 Statement on Twitter with the identical language that she used to comment on Facebook.

This reply also is no longer viewable, as, upon information and belief, Defendants selectively

deleted it.

        170.     After posting her response to the tweet publishing the June 1 statement, Plaintiff

Hannock again attempted to view the Vote Joe Gale Facebook page and @JoeGalePA Twitter

account. It was only after returning to the page that Plaintiff O’Halloran saw that Defendants had

blocked her from the account.

        171.     Defendants’ blocking of Plaintiff Hannock from Gale’s official Facebook and

Twitter accounts prevents Plaintiff Hannock not only from viewing Gale’s own uploaded content,

but also from viewing the comments and replies of other users and from participating in the feeds

associated with this content.

                 6.     Karen Hayman

        172.     Plaintiffs repeat the allegations previously set forth in this Complaint and

incorporate them as though fully stated herein.

        173.     As a member of the public, and as one of Gale’s constituents, Plaintiff Hayman had

and continues to have a vested interest in and regularly followed Gale’s activities across his social

media accounts.

        174.     On or after June 1, 2020, Plaintiff Hayman viewed the publication of Gale’s June 1

Statement on the @JoeGalePA Twitter account.

        175.     On June 5, 2020, Plaintiff Hayman posted a reply to the tweet used by Defendants

to publicize the June 1 Statement by expressing her disapproval of the Statement and her

simultaneous approval of the actions of Gale’s fellow Commissioners to censure him for making
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the June 1 Statement.

       176.    After posting her response to Gale’s tweet publishing the June 1 statement, Plaintiff

Hayman again attempted to view the @JoeGalePA Twitter account. It was only after returning to

the page that Plaintiff Hayman saw that Defendants had blocked her from the account.

       177.    Defendants’ blocking of Plaintiff Hayman from Gale’s official Facebook and

Twitter accounts prevents Plaintiff Hayman not only from viewing Gale’s own uploaded content,

but also from viewing the comments and replies of other users and from participating in the feeds

associated with this content.

               7.       Zak Hutchinson

       178.    Plaintiffs repeat the allegations previously set forth in this Complaint and

incorporate them as though fully stated herein.

       179.    As a member of the public, and as one of Gale’s constituents, Plaintiff Hutchinson

had and continues to have a vested interest in and regularly followed Gale’s activities across his

social media accounts.

       180.    Plaintiff Hutchinson had “followed” Gale’s Twitter and Instagram accounts through

his own profiles, and regularly checked the Vote Joe Gale Facebook page for updated content

posted by Defendants, on or before June 1, 2020.

       181.    One or shortly after June 1, 2020, Plaintiff Hutchinson viewed the June 1 Statement

on the @JoeGalePA Twitter account.

       182.    On June 3, 2020, Plaintiff Hutchinson posted a reply to the tweet publishing the

June 1 Statement, in which he expressed his staunch opposition to the Statement and the message

that it espoused.

       183.    After posting his response to the tweet publishing the June 1 statement, Plaintiff

Hutchinson again attempted to view the @JoeGalePA Twitter account. It was only after returning
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to the page that Plaintiff Hutchinson saw that Defendants had blocked him from the account.

       184.    Plaintiff Hutchinson then attempted to view the @votejoegale Instagram account,

only to learn at that time that Defendants had also blocked him from that account.

       185.    Defendants’ blocking of Plaintiff Hutchinson from Gale’s official Facebook and

Twitter accounts prevents Plaintiff Hutchinson not only from viewing Gale’s own uploaded

content, but also from viewing the comments and replies of other users and from participating in

the feeds associated with this content.

               8.      Elizabeth Brooks

       186.    Plaintiffs repeat the allegations previously set forth in this Complaint and

incorporate them as though fully stated herein.

       187.    As a member of the public, and as one of Gale’s constituents, Plaintiff Brooks had

and continues to have a vested interest in and regularly followed Gale’s activities across his social

media accounts.

       188.    Plaintiff Brooks viewed Gale’s June 1 Statement and immediately desired to see the

full complement of discourse and viewpoints among members of the public that flowed from it.

       189.    Unlike the other Plaintiffs, Plaintiff Brooks has not, as of the filing of this

Complaint, been blocked from viewing the aforementioned Twitter, Facebook, or Instagram

accounts. Plaintiff Brooks can view Gale’s content uploaded to these platforms and can participate

fully in discussion regarding the same.

       190.    However, Plaintiff Brooks was, has been, and/or continues to be prevented from

hearing speech of others opposing Gale’s viewpoints, and any dialogue stemming from that

speech, because Defendants have selectively deleted or removed comments or content posted by

other users that they deem objectionable.

       191.    As such, Plaintiff Brooks’ First Amendment rights have been infringed by Gale
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and/or Friends’ distorting of the expressive forum in which Plaintiff Brooks as well as any other

social media users that have not been blocked may participate in.

       F.      Defendants’ Continued Suppression

       192.    Plaintiffs repeat the allegations previously set forth in this Complaint and

incorporate them as though fully stated herein.

       193.    Defendants have shown no signs of relaxing their continued campaign of infringing

upon the First Amendment rights of any social media users who disagree with Gale’s viewpoints.

Indeed, upon information and belief, they continues to restrict dozens, if not more, of social media

users opposing his viewpoints from participation in the public fora that they created. Similarly,

Gale and/or Friends continue to distort and control the discourse emanating from Gale’s public

pronouncements as a Montgomery County Commissioner.

       194.    Indeed, Gale has dedicated himself to ensuring that this widespread infringement

will continue. In a post shared publicly across all three of his social media profiles on June 7,

2020, Gale stated emphatically that “[a]gitators, anarchists and agent provocateurs will not be

allowed to spew their lies and hate on my personal and campaign social-media platforms:”



       195.    Defendants thus have re-dedicated themselves to violating the free speech rights of

those who oppose them. Gale’s public statements confirm that those who might oppose him, or

those who he singularly views as objectionable, will be entirely excluded from the public platforms

that he and/or Friends created. Gale has left little question that he will continue his campaign of

several years to suppress speech that he finds unfavorable.

       196.    Moreover, Gale and/or Friends continue to post Gale’s viewpoints and activities as

a Montgomery County Commissioner across all of his social media accounts, reaffirming his use

of them under the color of his elected position.
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       197.    In a further attempt to curtail speech that he finds unfavorable, after publication of

the June 1 Statement, Defendants sought to re-classify Gale’s publicly available and official social

media pages as his “private” social media accounts.

       198.    At no point, however, has Gale ceased referring to himself as a Commissioner of

Montgomery County, and at no time have Defendants ceased uploading content that pertains

exclusively to his activities in his official capacity as a commissioner.

       199.    Indeed, as recently as June 22, 2020, Gale and/or Friends posted to the Vote Joe

Gale Facebook account a statement regarding Gale’s recent inclusion in an article written in

Newsweek Magazine, and quoted from the article that described Gale in his official title and set

forth the viewpoints he expressed in the June 1 Statement:




       200.    The attempted re-classification of the aforementioned social media platforms into

“private” accounts is a thinly veiled attempt to legitimize Gale and/or Friends’ own

unconstitutional actions. Defendants should not be able to escape the public fora that they created

for free public speech and consumption merely by re-naming them.

                                       CAUSES OF ACTION

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   Violation of the First Amendment of United States Constitution under 42 U.S.C. § 1983
                                    (Injunctive Relief)

       201.    Plaintiffs repeat the allegations previously set forth in this Complaint and

incorporate them as though fully stated herein.

       202.    The right of Plaintiffs to the free exercise of speech and/or to freedom of expression

is protected under the First Amendment to the United States Constitution, which is applied to

Plaintiffs under the Fourteenth Amendment to the United States Constitution.

       203.    The establishment and/or maintenance of the Twitter account @JoeGalePA, the

Facebook page “Vote Joe Gale,” and/or the Instagram account @votejoegale constituted public

fora under the United States Constitution.

       204.    In blocking Plaintiffs Deardorff, Oteri, SAVVY, D’Antonio, Hannock, Hayman,

and Hutchinson from access to the Twitter account @JoeGalePA, the Facebook page “Vote Joe

Gale,” and the Instagram account @votejoegale, and in restricting the access of Plaintiff Brooks to

a complete picture of the fora by deleting and/or removing content and comments that Defendants

view as inappropriate and/or objectionable, and at all times relevant to the facts and allegations set

forth in this Complaint, Defendants act and continue to act under color of state law.

       205.    Defendants’ actions to block Plaintiffs Deardorff, Oteri, SAVVY, D’Antonio,

Hannock, Hayman, and Hutchinson from access to the Twitter account @JoeGalePA, the

Facebook page “Vote Joe Gale,” and the Instagram account @votejoegale, and to restrict the

access of Plaintiff Brooks to the marketplace of ideas in the fora by deleting and/or removing

content and comments that Defendants view as inappropriate violates the First Amendment Rights

of Plaintiffs because those actions:

           a. impose a viewpoint-based restriction on the Plaintiffs’ participation in one or more

               public fora;

           b. impose a viewpoint-based restriction on the Plaintiffs’ access to statements made by
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                Gale in his official capacity as a Commissioner of Montgomery County;

            c. impose a viewpoint-based restriction on the Plaintiffs’ ability to petition the

                government for redress of grievances;

            d. impose a viewpoint-based restriction on Plaintiff Brooks’ right to hear; and

            e. were neither content-neutral, nor narrowly tailored to serve important governmental

                interests, and failed to permit ample alternative channels for communication of

                Plaintiffs’ messages.

        206.    Plaintiffs are likely to succeed on the merits of their claims, such that injunctive

relief in their favor is warranted.

        207.    Plaintiffs will suffer irreparable and immediate harm if injunctive relief is not

granted, and have no clear and present remedy for Defendants’ violation of their Constitutional

rights, which will continue unfettered until enjoined by an appropriate Order of this Court.

        208.    Defendants will not suffer irreparable harm if the injunctive relief requested is

granted.

        209.    The public interest strongly favors injunctive relief in this case.

                         COUNT II – PLAINTIFFS v. DEFENDANTS
                Violation of Article I, Section 7 of the Pennsylvania Constitution

        210.    Plaintiffs repeat the allegations previously set forth in this Complaint and

incorporate them as though fully stated herein.

        211.    The right of Plaintiffs to the free exercise of speech and/or to freedom of expression

is protected under Article I, Section 7 of the Pennsylvania Constitution.

        212.    The establishment and/or maintenance of the Twitter account @JoeGalePA, the

Facebook page “Vote Joe Gale,” and/or the Instagram account @votejoegale constituted public

fora under the Pennsylvania Constitution.
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        213.    In blocking Plaintiffs Deardorff, Oteri, SAVVY, D’Antonio, Hannock, Hayman,

and Hutchinson from access to the Twitter account @JoeGalePA, the Facebook page “Vote Joe

Gale,” and the Instagram account @votejoegale, and to restrict the access of Plaintiff Brooks to a

complete picture of the fora by deleting and/or removing content and comments that Defendants

view as inappropriate and/or objectionable, and at all times relevant to the facts and allegations set

forth in this Complaint, Defendants act and continue to act under color of state law.

        214.    Defendants’ actions to block Plaintiffs Deardorff, Oteri, SAVVY, D’Antonio,

Hannock, Hayman, and Hutchinson from access to the Twitter account @JoeGalePA, the

Facebook page “Vote Joe Gale,” and the Instagram account @votejoegale, and in restricting the

access of Plaintiff Brooks to a complete picture of the fora by deleting and/or removing content

and comments that Defendants view as inappropriate or objectionable violates the rights enjoyed

by Plaintiffs under the Pennsylvania Constitution because their actions:

            a. impose a viewpoint-based restriction on the Plaintiffs’ participation in one or more

                public fora;

            b. impose a viewpoint-based restriction on the Plaintiffs’ access to statements made by

                Gale in his official capacity as a Commissioner of Montgomery County;

            c. impose a viewpoint-based restriction on the Plaintiffs’ ability to petition the

                government for redress of grievances;

            d. impose a viewpoint-based restriction on Plaintiff Brooks’ right to hear; and

            e. were neither content-neutral, nor narrowly tailored to serve important governmental

                interests, and failed to permit ample alternative channels for communication of

                Plaintiffs’ messages.

        215.    Plaintiffs are likely to succeed on the merits of their claims, such that injunctive

relief in their favor is warranted.
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       216.      Plaintiffs will suffer irreparable and immediate harm if injunctive relief is not

granted, and have no clear and present remedy for Defendants’ violation of their rights under the

Pennsylvania Constitution, which will continue unfettered until enjoined by an appropriate Order

of this Court.

       217.      Defendants will not suffer irreparable harm if the injunctive relief requested is

granted.

       218.      The public interest strongly favors injunctive relief.

                        COUNT III – PLAINTIFFS v. DEFENDANTS
   Violation of the First Amendment of United States Constitution under 42 U.S.C. § 1983
                  and/or Article 1 Section 7 of the Pennsylvania Constitution
                                      (Declaratory Relief)

       219.      Plaintiffs repeat the allegations previously set forth in this Complaint and

incorporate them as though fully stated herein.

       220.      An actual, immediate, justiciable, and present controversy exists between Plaintiffs

on the one hand, and on Defendants on the other, concerning Plaintiffs’ rights to participate in

public debate by posting, responding, accessing, and commenting upon Gale’s activities and posts

on his official social media accounts.

       221.      The controversy is ripe for determination and/or judicial decision, and declaratory

relief is both necessary and appropriate so that the parties may know the legal obligations that

govern their conduct.

       WHEREFORE, Plaintiffs respectfully pray for judgment in their favor and against

Defendants, and that the Court:

       (a)       Grant injunctive relief to Plaintiffs requiring Defendants to unblock Plaintiffs

Deardorff, Oteri, SAVVY, D’Antonio, Hannock, Hayman, and Hutchinson from, and/or restore

access to, each of Defendant’s social media accounts;

       (b)       Grant injunctive relief to Plaintiffs requiring Defendants to immediately cease
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deleting, excising, or disposing of comments or content uploaded to the Twitter account

@JoeGalePA, the Facebook page “Vote Joe Gale,” and the Instagram account @votejoegale;

       (c)      Enter an order declaring that Defendants’ actions to block Plaintiffs from access to

the Twitter account @JoeGalePA, the Facebook page “Vote Joe Gale,” and the Instagram account

@votejoegale, and in restricting the access of Plaintiffs to a complete picture of the fora by

deleting and/or removing content and comments that Gale singularly views as inappropriate

violates the First Amendment to the United States Constitution and/or Article I, § 7 of the

Pennsylvania Constitution;

       (d)      Award Plaintiffs their costs and reasonable attorneys’ fees under 42 U.S.C. § 1988;

       (e)      Award Plaintiffs nominal, compensatory, and punitive damages in an amount

exceeding the jurisdictional limits of this Court; and

       (f)      Award Plaintiffs such other relief as it may deem necessary and proper.


WALSH PANCIO, LLC                                        PHILIP PRESS LAW OFFICE


BY: ____________________________                         BY: __/s/ Philip Press_____ _________
      Joseph P. Walsh, Esquire                                 Philip Press, Esquire
      Michael J. Lyon, Esquire                                 I.D. No. 306374
      I.D. No. 64352/306519                                    30 West Airy Street
      2028 North Broad Street                                  Norristown, PA 19401
      Lansdale, PA 19446-1004


MUDRICK & ZUCKER, P.C.


BY: ____________________________
      Adam Zucker, Esquire
      Samantha Harris, Esquire
      I.D. No.
      325 Sentry Parkway
      Building 5 West, Suite 320
      Blue Bell, PA 19422
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JS 44 (Rev. 02/19)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
Gabrielle Deardorff, et al.                                                                                 Joseph C. Gale, Individually and in His Official Capacity as
                                                                                                            Commissioner of Montgomery County, PA
    (b) County of Residence of First Listed Plaintiff             Montgomery                                 County of Residence of First Listed Defendant Montgomery
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Joseph P. Walsh/Michael J. Lyon, Esq.
WALSH PANCIO LLC
2028 North Broad Street, Lansdale, PA 19446

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1       Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 485 Telephone Consumer
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)                 Protection Act
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))         ’ 490 Cable/Sat TV
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 850 Securities/Commodities/
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))                     Exchange
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                             ’ 890 Other Statutory Actions
                                             Medical Malpractice                                            Leave Act                                                     ’ 891 Agricultural Acts
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS              ’ 893 Environmental Matters
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 895 Freedom of Information
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)                   Act
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party            ’ 896 Arbitration
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609               ’ 899 Administrative Procedure
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                             Act/Review or Appeal of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          Agency Decision
                                             Employment                 Other:                       ’ 462 Naturalization Application                                     ’ 950 Constitutionality of
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration                                                    State Statutes
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           U.S. Constitution - First Amendment
VI. CAUSE OF ACTION Brief description of cause:
                                           42 U.S.C. 1983 for Violation of First Amendment
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
06/29/2020                                                              /s/ Michael J. Lyon, Esq.
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE

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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket. PLEASE
         NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in
         statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.


Date and Attorney Signature. Date and sign the civil cover sheet.
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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                     CASE MANAGEMENT TRACK DESIGNATION FORM

Gabrielle Deardorff, et al.                       :                          CIVIL ACTION
                                                  :
                       v.                         :
                                                  :
 Joseph C. Gale, et al.                           :                          NO. 20-3172

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus – Cases brought under 28 U.S.C. § 2241 through § 2255.                             ( )

(b) Social Security – Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                   ( )

(c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

(d) Asbestos – Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                            ( )

(e) Special Management – Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                               ( )

(f) Standard Management – Cases that do not fall into any one of the other tracks.                   (x )


6/29/2020                      Michael J. Lyon, Esq.               Plaintiffs
Date                              Attorney-at-law                       Attorney for
215-368-8660                    215-368-7990                          mike@walshpancio.com

Telephone                           FAX Number                           E-Mail Address


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                              Civil Justice Expense and Delay Reduction Plan
                             Section 1:03 - Assignment to a Management Track

    (a)          The clerk of court will assign cases to tracks (a) through (d) based on the initial pleading.

    (b)           In all cases not appropriate for assignment by the clerk of court to tracks (a) through (d), the
plaintiff shall submit to the clerk of court and serve with the complaint on all defendants a case management
track designation form specifying that the plaintiff believes the case requires Standard Management or
Special Management. In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which that
defendant believes the case should be assigned.

    (c)         The court may, on its own initiative or upon the request of any party, change the track
assignment of any case at any time.
     (d)         Nothing in this Plan is intended to abrogate or limit a judicial officer's authority in any case
pending before that judicial officer, to direct pretrial and trial proceedings that are more stringent than those
of the Plan and that are designed to accomplish cost and delay reduction.
     (e)        Nothing in this Plan is intended to supersede Local Civil Rules 40.1 and 72.1, or the
procedure for random assignment of Habeas Corpus and Social Security cases referred to magistrate judges
of the court.
                            SPECIAL MANAGEMENT CASE ASSIGNMENTS
                             (See §1.02 (e) Management Track Definitions of the
                              Civil Justice Expense and Delay Reduction Plan)
     Special Management cases will usually include that class of cases commonly referred to as "complex
litigation" as that term has been used in the Manuals for Complex Litigation. The first manual was prepared
in 1969 and the Manual for Complex Litigation Second, MCL 2d was prepared in 1985. This term is
intended to include cases that present unusual problems and require extraordinary treatment. See §0.1 of the
first manual. Cases may require special or intense management by the court due to one or more of the
following factors: (1) large number of parties; (2) large number of claims or defenses; (3) complex factual
issues; (4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive discovery;
(7) exceptionally long time needed to prepare for disposition; (8) decision needed within an exceptionally
short time; and (9) need to decide preliminary issues before final disposition. It may include two or more
related cases. Complex litigation typically includes such cases as antitrust cases; cases involving a large
number of parties or an unincorporated association of large membership; cases involving requests for
injunctive relief affecting the operation of large business entities; patent cases; copyright and trademark
cases; common disaster cases such as those arising from aircraft crashes or marine disasters; actions brought
by individual stockholders; stockholder's derivative and stockholder's representative actions; class actions or
potential class actions; and other civil (and criminal) cases involving unusual multiplicity or complexity of
factual issues. See §0.22 of the first Manual for Complex Litigation and Manual for Complex Litigation
Second, Chapter 33.
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                                           Joseph C. Gale
                                           Commissioner
                                       Board of Commissioners
                                   Montgomery County, Pennsylvania

                                                   June 1, 2020

              PRESS STATEMENT: RIOTS & LOOTING IN PHILADELPHIA
        What we saw this weekend in Philadelphia was not a protest - it was a riot. In fact, nearly every major
city across the nation was ravaged by looting, violence and arson.

       The perpetrators of this urban domestic terror are radical left-wing hate groups like Black Lives
Matter. This organization, in particular, screams racism not to expose bigotry and injustice, but to justify the
lawless destruction of our cities and surrounding communities. Their objective is to unleash chaos and
mayhem without consequence by falsely claiming they, in fact, are the victims.

        For years, our police men and women have been demonized and degraded by the radical left. As a
result of this defamation and character assassination, as well as a complicit media constantly pushing the
bogus narrative of systemic police brutality and white racism, law enforcement is afraid to do their job of
protecting innocent people and their property.

        In addition, too many Democrat mayors are sympathizers of these far-left radical enemy combatants.
As a result, their misguided empathy has enabled a level of unfettered criminality never witnessed before in
American history.

       Sadly, Philadelphia Mayor Jim Kenney falls in this category of sympathetic Democrat mayors. And his
handpicked Philadelphia Police Commissioner Danielle Outlaw seems to share her boss's sentiment. Frankly,
the name Outlaw fits her to a tee.

        This past weekend, I watched television coverage of police officers being ordered to stand down as the
statue of Frank Rizzo was spray painted, lit on fire and attempted to be pulled down.

        The only way to stop this vandalism and chaos is by allowing law enforcement to do their job of
enforcing the law. Otherwise, so-called ‘peaceful protests’ end up escalating to into violence, arson and
looting.

       Police cannot continue to 'give space' to opportunists and lawbreakers. Because as they say, 'If you
give an inch, they will take a foot.'

        We need law-and-order. We need leaders who will uphold the laws they swore to defend when they
placed their hand on the Holy Bible on inauguration day. The broken promises of failed Democrat mayors like
Jim Kenney have led not just to broken windows, but a broken public trust that must be restored before more
cities are shattered.
                                                    ###
                                P.O. Box 311 Norristown, Pa 19404 - 0311
                                           Joe@MontcoPa.org
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                  THE GENERAL ASSEMBLY OF PENNSYLVANIA



           HOUSE RESOLUTION
              No. 920
                                                    Session of
                                                      2020

     INTRODUCED BY WEBSTER, BRIGGS, HILL-EVANS, HANBIDGE, NEILSON,
        KINSEY, KENYATTA, ULLMAN, SANCHEZ, DALEY, LEE, FIEDLER,
        CIRESI, SCHWEYER AND RABB, JUNE 23, 2020

     REFERRED TO COMMITTEE ON JUDICIARY, JUNE 23, 2020


                                   A RESOLUTION
 1   Impeaching Joseph C. Gale, Montgomery County Commissioner, for
 2      misbehavior in office.
 3      BE IT RESOLVED, That Joseph C. Gale, Montgomery County
 4   Commissioner, be impeached for misbehavior in office and that
 5   the following be exhibited to the Senate:
 6      On June 1, 2020, Joseph C. Gale issued a press statement
 7   under the Seal of the County of Montgomery in which he, without
 8   evidence or cause, disparaged and defamed the Black Lives Matter
 9   movement by declaring them "terrorists" seeking to "justify the
10   lawless destruction of our cities and surrounding communities,"
11   despite the fact that they represent peaceful and civil
12   protestors seeking redress for four centuries of grievances,
13   including racially-motivated oppression, rape, exploitation and
14   murder.
15      Joseph C. Gale did make these inflammatory and derisive
16   statements despite the overwhelmingly peaceful and civil nature
17   of protests throughout this Commonwealth, the United States and
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 1   at least 17 countries around the world in support of the civil
 2   rights of people of color.
 3      Joseph C. Gale has demonstrated by this and subsequent
 4   statements his contempt for the people of Montgomery County and
 5   his deliberate unwillingness to uphold its values of decency,
 6   morality, respectability, civility, equality and unity.
 7      Joseph C. Gale engaged in a potentially unlawful and
 8   distinctly shameful use of a public office and public resources
 9   for no legitimate governmental purpose, utilizing his office to
10   engage in and promote libelous and unsupported hate speech for
11   his own political gain, as evidenced by the prominent display of
12   his statement of June 1, 2020, on his personal campaign website.
13      Joseph C. Gale used the County Seal and masthead bearing the
14   words "Board of Commissioners, Montgomery County, Pennsylvania"
15   to legitimize racist rhetoric, thereby deliberately and falsely
16   implying that his statements were an official statement of the
17   Montgomery County government.
18      Joseph C. Gale was formally censured by the County of
19   Montgomery on June 4, 2020, for his "hateful, divisive and
20   false" statements.
21      Joseph C. Gale is the subject of a petition calling for his
22   immediate resignation which has, as of June 9, 2020, more than
23   80,000 signatures; and has been the subject of numerous peaceful
24   public protests calling for his immediate resignation.
25      Joseph C. Gale expressed views which law enforcement
26   officials in Montgomery County have described as increasing
27   danger for law enforcement officers, undermining their authority
28   by disrespecting a large proportion of his constituents
29   and unilaterally declaring that those seeking justice are
30   "terrorists."

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 1      Joseph C. Gale has failed in his duty to provide words of
 2   unity, calm and compassion during this difficult time following
 3   the killing of George Floyd by a police officer, and has instead
 4   deliberately endangered his constituents through the use
 5   of language that incites violence and division.
 6      Joseph C. Gale has abused his position to promulgate and
 7   promote racist and ignorant comments that have legitimized and
 8   increased fear and hatred of people of color within Montgomery
 9   County.
10      Joseph C. Gale abused his position via an unwarranted
11   assumption of authority to attack and undermine elected
12   officials in Philadelphia County, a county over which he has no
13   jurisdiction or oversight.
14      Wherefore, Commissioner Joseph C. Gale is guilty
15   of impeachable offenses warranting removal from office and
16   disqualification to hold any office or trust in
17   this Commonwealth.
18      The House of Representatives hereby reserves the right and
19   ability to exhibit at any time hereafter further Articles of
20   Impeachment against Commissioner Gale, to reply to any answers
21   that Commissioner Gale may make to any Articles of Impeachment
22   which are exhibited and to offer proof at trial in the Senate in
23   support of each and every Article of Impeachment which shall be
24   exhibited by them.




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